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ANTONIA ROTA-McLARTY                                  *      IN THE
6941 Red Clay Forge, #2 J0
Elkridge, MD 21075,                                   *      CIRCUIT COURT

       Plaintiff                                      •      FOR

       v.                                             •      HOWARD COUNTY

DRIVE FINANCIAL SERVICES, L.P.                        *                                       <',
Suite 1100 N                                                                                 ~
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The Corporation Trust, Inc.                                                                      I
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       Defendant                                      *
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                   CLASS ACTION COMPLAINT AND JURY DEMAND

       Plaintiff Antonia Rota-McLarty, through her undersigned attorneys, makes the following

complaint, on behalf of herself and a class of similarly situated Maryland consumers, against

Defendant Drive Financial Services, L.P.

       1,      Plaintiff Antonia Rota-McLarty is a resident of Howard County, Maryland.

       2.      Defendant Drive Financial Services, L.P., ("Drive") is a limited partnership with

home offices in the State of Texas. Drive was fonnerly registered to do business in Maryland,

but as of the date of this Class Action Complaint, Drive is no longer in good standing with the

Maryland State Department of Assessments and Taxation.

       3.      Drive is engaged in the business of providing loans to consumers for the purchase

of used motor vehicles.

       4.      As part of its lending practices in Maryland, Drive regularly takes a security

interest in consumers' vehicles and, in the event of default, asserts a right to repossession and



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resale of the vehicles under the Maryland Credit Grantor Closed End Credit Provisions (CLEC)

of the Commercial Code, §§ 12-1001 et seq.

         5.    This complaint arises out of the wrongful actions of Drive in the course of its

financing practices and its repossession of consumers' vehicles in Maryland pursuant to CLEC.

         6.    In or about July, 2007, Plaintiff became interested in buying a used car. She

researched cars for sale at Easterns Automotive Group (Easterns) and found a car on-line that she

liked.

         7.    When Plaintiff arrived at Easterns to look at the car, she was told that it was no

longer available but that another, similar car would be available in the next couple days.

         8.    Easterns contacted Plaintiff when the next car was available, and she agreed to

come to the Easterns lot in Rockville to look at it.

         9.    The car Easterns proposed to sell Plaintiff was a 2001 Mercedes-Benz C240, with

the base trim, and with approximately 43,500 miles on the odometer.

         10.   The price of the car was set at $21,486.67. The Easterns salesperson, Dennis

Robinson, told Plaintiff that the price was non-negotiable.

         11.   In addition, Plaintiff was informed in violation ofCLEC § 12-1012(a)(3) that she

was required to purchase something called a "Mechanical Repair Contract" for $1,409, bringing

the total price of the car to $22,895.67.

         12.   Upon information and belief, the price of the car and the service contract were

artificially inflated by Easterns, because Easterns arranged financing through Defendant Drive,

and it is Drive's policy to require that additional sums be paid above the regular sales price, in

order for Drive to approve the financing.




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        13.    Neither Easterns nor Drive disclosed to Plaintiff that the price of the car was

inflated to include an extra, up-front finance charge, in violation of, inter alia, CLEC § 12·

1005(a)(2).

        14.    Plaintiff paid a deposit of $5,000 toward the purchase of the car. Including the

purchase price, the service contract, processing fees, licensing fees, and taxes, the total cost of

the car came to $24,261. The defendant's form shows that Plaintiff financed $19,261 of that

cost.

        15.    Easterns arranged financing through Drive. The Retail Installment Sale Contract

shows that the loan in the amount of$19,261 had an annual interest rate of 24%, and would cost

$13,976 in interest over the life of the loan. Total payments over the life of the loan would

amount to $33,237, bringing the total cost of the car (including down payment) to $38,237.

        16.    Shortly after getting the car home, Plaintiff began experiencing difficulties with

the car's electrical systems. She returned the car to Easterns for repair several times in July, but

the problem was never fixed.

        17.    After several failed attempts to repair the car, Plaintiff returned the car to Easterns

and left it there; she returned the tags to the Department of Motor Vehicles.

        18.    Plaintiff's first payment to Drive, in the amount of$553.95, was due on or before

August 4,2007. Plaintiff never made that payment, but informed Drive that she had returned

the car to Easterns.

        19.    Weeks later, on August 29, 2007, Easterns wrote to Plaintiff, stating: "your

vehicle is repaired and ready to be picked up at Easterns of Rockville .... Your failure to pick up

the vehicle within 5 days from the date of this letter will result in a storage fee of$25 per day.




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We will also be forced to notify your financing bank of the location of the vehicle for

repossession purposes."

       20.     Plaintiff never heard again from Eastems or from Drive until the spring of the

next year, 2008, when she was contacted by a collection agency seeking payment of a deficiency

resulting from Drive's exercise of its purported right to repossess the car.

       21.     At about this time, Plaintiff also received a letter from Drive. The letter, which is

undated, references an account number and a 2001 Mercedes-Benz C Class car. The letter

(attached hereto and incorporated herein as Exhibit I) states:

               Under the terms of the Retail Installment Contract and Security
               Agreement for the account, and pursuant to applicable law, Drive
               Financial Services, LP disposed of the collateral 2001 Mercedes-
               BenziC Class pledged to secure the indebtedness for the sum of
               $20,375.49. After applying the net proceeds from the sale, along
               with any applicable refunds, as required by the terms and
               conditions of the loan contract, a Deficiency Balance remains in
               the amount of$9,693.41, for which you remain liable under your
               Agreement.

       22.     The letter shows a computation of the alleged deficiency as follows:

               Principal Balance                              $19,006,00

               Finance ChargeIRebate                          $1,702.41

               Net Balance                                    $20,708.41

               Plus Allowed Expenses
               Fees for retaking, holding, preparing          $25500
               for disposition, processing and
               disposing of the collateral, including
               attorneys' fees

               Late charges

               Miscellaneous Fees                             $175,00

               Total Expenses                                 $430.00




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               Credits
               Credits for refunds of ancillary               $0.00
               products (insurance premiums, service
               contracts, GAP coverage)
               Sale Amount                                    $11,445.00

               Fair Market Adjustments

               Total Credits                                  $11,455.00

               Deficiency Balance Due                         $9,693.41

       23.     Upon information and belief, the letter showing the deficiency computation is a

form letter used by Drive throughout Maryland

       24.     The letter does not provide any information regarding the method by which the

collateral was disposed, whether by public sale, private sale, or otherwise.

       25.     The letter shows that no credit was provided for the unused portion of the service

contract that Plaintiff was required to purchase.

       26.     The letter does not itemize or explain any of the matters listed as "allowed

expenses" or "miscellaneous fees," or show how the finance charge was computed.

       27.     Plaintiff brings this action on her own behalf, and on behalf of a class of similarly

situated Maryland consumers. The class is defined as:

               All Maryland residents who purchased motor vehicles and
               financed their purchases with Drive Financial Services, LP, and
               whose loans were still unsatisfied as of September 10, 2009. The
               class includes a subclass of Maryland residents whose motor
               vehicles were repossessed by or on behalf of Drive on or after
               March 10, 2006.

        28.    Upon information and belief, the class is so numerous as to make joinder of all

members impracticable. The exact size of the class is known to Defendant.

        29.    Common issues of law and fact exist as to all class members. Those common

issues include: (a) the failure of Drive to disclose accurate finance charges in its financing



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contracts; (b) the failure of Drive to provide adequate and accurate notice to consumers regarding

their rights upon repossession of their vehicles; (c) the improper attempts by Drive to collect

alleged deficiencies from Maryland consumers when those alleged deficiencies are not properly

due and owing.

       30.     Plaintiff's claim is typical of the claims of other class members in that Plaintiff

complains about the identical acts and practices of Defendant that other class members would

complain about.

       31.     Plaintiff is an adequate representative of the class in that Plaintiff has no conflicts

of interest with other class members and is represented by counsel who are experienced in the

prosecution of consumer cases and class actions.

       32.       The common issues listed above predominate over any individual issues in this

action in that Defendant's fonn contracts, hidden finance charges, and activities and notices

surrounding repossession of collateral are uniform as to all class members, and uniformly in

violation of applicable Maryland statutes.

       33.       A class action is a superior method for the prosecution of this action in that many

class members may be unaware of their statutory rights upon repossession, and many would have

claims that are too small to prosecute efficiently on an individual basis. The identities and recent

addresses of all class members are known to Defendant, and there are no difficulties inherent in

the management of the class.

       34.       Plaintiff also seeks declaratory or injunctive relief on her own behalf, and on

behalf of the class as a whole.




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Count] - Violation of the Maryland Credit Grantor Closed End Credit Provisions (CLEC)

        35.     Plaintiff incorporates the allegations of paragraphs 1 through 34 as if fully set

forth herein.

        36.     Plaintiff and all class members are "consumer borrowers" as that tenn is used in

the CLEC, §§ 12-1001 et seq.

        37.     Defendant is a "credit grantor" as that tenn is used in CLEC, §§ 12·1001, et seq.

        38.     The transactions at issue as to Plaintiff and all class members are "loans" as that

tenn is used in CLEC, §§ 12-1001, et seq..

        39,     Plaintiff's loan agreement, and upon information and belief, the loan agreements

of all class members, failed to comply with the notification provisions ofCLEC §§ 12-1005 in

that, inter alia, secret or hidden finance charges were imposed on Plaintiff and all class members

in those contracts.

        40.     Defendant's actions also violated CLEC § 12-1012 in that Plaintiff was required

to purchase a service contract when she purchased the car and financed it with Defendant.

        41.     Defendant now claims a deficiency, having repossessed Plaintiffs car and

disposed of it at a sale. Defendant's claim is excessive and violates CLEC in that Defendant has

failed to comply with the provisions ofCLEC §§ 12-1021. Specifically, and without purporting

to list all violations, Defendant: (a) failed to send to Plaintiff, within five days after

repossession, a written notice, via certified or registered mail, (b) stating her right to redeem the

car and the amount payable for redemption, and (c) stating her rights as to a resale and liability

for any deficiency, and (d) stating the exact location where the car was stored and the address for

payment or notice to be delivered, and (e) failed to provide notice, via registered or certified

mail, ten days before the sale, of the time and place of the sale, and (1) failed to provide an




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accurate accounting for the allocated proceeds of the sale, resulting in a sale that was not

commercially reasonable.

       43.      Deficiencies claimed by Defendant against Plaintiff and all class members are

grossly inflated, and inadequately itemized.

       44.      Plaintiff has been damaged by the loss of her $5,000 deposit, as well as damages

to her credit, and the class members have been similarly damaged as a result of Defendant's

actions in repossessing collateral without proper notice or procedures in place to protect the

rights of the debtors. Plaintiff and the class have been further damaged by Defendant's

attempted collection of, and in some cases actual collection of, finance, delinquency and other

collection charges in violation of§ 12-1018.

       WHEREFORE, Plaintiff asks this Court, on her own behalf and on behalf of the class

defined herein, to render judgment against defendant, including a Declaration pursuant to Md.

Cts. & Jud. Proc. Code § 3-409 that the claimed deficiencies claimed by Defendant are invalid,

an award of actual damages in an amount to be determined by the trier of fact, statutory damages

as may be permitted under the CLEC including treble damages for interest, fees and other

charges, attorneys' fees, plus such other and further relief as this Court may deem appropriate.

                      Count II - Maryland Consumer Debt Collection Act

       45.      Plaintiff incorporates the allegations of paragraphs 1 through 44 as if fully set

forth herein.

        46.     Defendant is a debt collector, and Plaintiff and the class are persons, as those

tenns are defined in the Maryland Consumer Debt Collection Act.

        47.     As a collector, Defendant regularly violates § 14-202 of the Act in that Defendant

claims, attempts, or threatens to enforce a right with knowledge that the right does not exist, in




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that Defendant pursues or has pursued collection of debts against Plaintiff and the class herein,

claiming full compliance with the consumers' contracts and applicable Maryland law, knowing

that its actions, contracts and notices (or lack thereof) are not in compliance with the law.

       WHEREFORE plaintiff seeks judgment on her own behalf and on behalf of all class

members herein against Defendant for the four year period preceding the filing of this

Complaint, for all amounts collected by it pursuant to the defective or missing notices of

repossession described herein, plus prejudgment interest, plus an award of their attorneys' fees,

plus emotional distress and mental anguish as permitted by Md. Comm. Code § J4-203, plus

such other and further relief as this Court may deem appropriate.

                           Count ill Unfair and Deceptive Practices

        48.     Plaintiff incorporates the allegations of paragraphs 1 through 44 as if fully set

forth herein.

        49.     The loan documents and notice of deficiency that Defendant sent to or used in

Plaintiffs case, and that Defendant routinely uses with respect to all class members, are

defective and misleading in that the loans contain hidden finance charges, and the repossession

communications reflect deficiencies that cannot be lawfully collected due to the failure of

Defendant to provide class members with proper notification of their rights in repossession.

        so.     Because they are misleading and based on a deficient documentation, the loan

documents and notices of claimed deficiencies are actionable under Md. Commercial Code § 13-

303.

        WHEREFORE plaintiff seeks judgment on her behalf and on behalf of all class members

herein against Defendant, for all amounts collected by it in hidden interest charges, and for

amounts collected by it pursuant to the notices of'deficiency described herein, plus prejudgment




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       interest. plus an award of their attorneys' fees, plus such other and further relief as this Court

       may deem appropriate.

                                                               Respectfully submitted,


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                                                               Attorneys for Plaintiff

                                                 JURY DEMAND

               Plaintiff demands a jury trial on all issues so triable.

                                                               Respectfully submitted,




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